Case 2:25-cv-03528-MCS-JPR       Document 10    Filed 04/23/25   Page 1 of 3 Page ID
                                       #:345

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 13   (continued on next page)
 14
 15                      UNITED STATES DISTRICT COURT FOR THE
 16                         CENTRAL DISTRICT OF CALIFORNIA
 17
 18   STUDENT DOE #3,                               No. 2:25-cv-03528-MCS-JPR
 19         Plaintiff,
 20                                                 NOTICE RE: MOTION TO
                   v.                               CONSOLIDATE RELATED
 21                                                 CASES FILED IN STUDENT
 22   KRISTI NOEM, in her official capacity         DOE #1, NO. 5:25-cv-00847-
      as Secretary of Homeland Security; the        SSS-SHK
 23   DEPARTMENT OF HOMELAND
 24   SECURITY; and TODD LYONS, in his
      official capacity as Acting Director of
 25   U.S. Immigration and Customs
 26   Enforcement,
 27
            Defendants.
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Case 2:25-cv-03528-MCS-JPR   Document 10   Filed 04/23/25   Page 2 of 3 Page ID
                                   #:346

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Case 2:25-cv-03528-MCS-JPR     Document 10     Filed 04/23/25    Page 3 of 3 Page ID
                                     #:347

  1         Plaintiff hereby provides notice to the Court and to the parties that, pursuant
  2   to Fed. R. Civ. P. 42(a)(2), counsel has filed a Motion to Consolidate Related
  3   Cases in Student Doe # 1 v. Noem, 5:25-cv-00847-SSS-SHK seeking consolidation
  4   of four cases pending before the Court, including the instant case.
  5
  6
  7   Dated: April 23, 2025                  LAW OFFICES OF STACY TOLCHIN
      _
  8                                          /s/ Stacy Tolchin
                                             Stacy Tolchin
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